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                       EXHIBIT 1
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                       EXHIBIT 2
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                            OFFICE OF THE ATTORNEY GENERAL

                                                STATE OF ILLINOIS


Lisa Madigan
ATTORNEY GENERAL                                  September 9, 2011


Via E-Mail Transmission and U.S. Mail
Ms. Lori E. Lightfoot
Ms. Dana S. Douglas
Mr. Thomas V. Panoff
Mayer Brown, LLP
71 S. Wacker Drive
Chicago, IL 60606

                 Re:       Committee for a Fair and Balanced Map, et al. v. Illinois State Board of
                           Elections, et aI., No. 11 C 5065

Dear Counsel:

       This letter states our position with respect to the issues discussed during our telephone
conversation today regarding Defendants' discovery.

         First, with respect to the Congressional Plaintiffs, it is our position that all such Plaintiffs
must be prepared to sit for depositions at our offices as noticed. Naturally, we understand that
we will have to accommodate their schedules as to specific dates, although within the time
allotted for fact depositions by the Court's Scheduling Order. At this moment, we have no
preference as to the order of the depositions. Should we determine that we have a preference
regarding the order, we will let you know by next week. To the extent that you inform us that it is
impossible for one or more of them to be present at our offices during that time period, we will
consider your position and endeavor to work out a mutually-agreeable time and place, although
again within the time allotted by the Court. Additionally, we will make ourselves available at
virtually any time if that would assist in scheduling the depositions.

       Second, with respect to Item nos. 3 and 9 of our 30(b)(6) Deposition Notice, we believe
this material is discoverable. We understand that it is your position that it is not relevant, in
which case we request that you confirm your position in writing.

        Third, with respect to your objection that we have exceeded the number of permitted
interrogatories, we respectfully disagree. The majority of our interrogatories that you suggest
contain subparts merely regard a request for certain identifying information and often very
closely track the interrogatories you sent us (which, if your presumed definition of subparts were
applied, also would have exceeded the number permitted). If you disagree, then we might be at
an impasse.

        Fourth, with respect to your concerns regarding "CVAP" in Interrogatory no. 7, the
preferred candidate inquiry in Interrogatory nos. 18 and 19, and the election analyses inquired
into by Interrogatory nos. 20 and 21, we believe such material is discoverable. However, if you
are either not in possession or control of such information, or believe some of it is protected by

     500 South Second Street, Springfield, Illinois 62706 • (217) 782-1090 • TTY: (877) 844-5461 • Fax: (217) 782-7046
      100 West Randolph Street, Chicago, Illinois 60601 • (312) 814-3000 • TTY: (800) 964-3013 • Fax: (312) 814-3806
         1001 East Main, Carbondale, Illinois 62901 • (618) 529-6400 • 'TTY: (877) 675-9339 • Fax: (618) 529-6416        .~-
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Ms. Lori E. Lightfoot
Ms. Dana Douglas
Mr. Thomas Panoff
September 9,2011
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Rule 26 or otherwise should not be provided, please state your position in your response. To be
clear, though; we do not expect you to obtain information not in your possession or control to
create answers to these interrogatories. On a related note, since the only mention of precinct
analyses comes in our requests to produce, we believe it should be provided to the extent you
possess or control such documents.

       Fifth, regarding Interrogatory nos. 18 and 19, the case law makes it clear that historical
analyses of past voting patterns and results is a part of analyzing Racial Dilution or
Gerrymandering Claims. Therefore, such information going back to 2002 is relevant and
discoverable.

        Sixth, as to the definition of the term "district demographics" in Request to Produce no.
2, please be advised we are seeking information regarding age, citizenship, race, ethnicity,
national origin, and any relevant political party affiliation or registration and voting data.

      Seventh, to the extent that you believe that Request to Produce nos. 6 and 7 are
improper because they are not limited in temporal scope, we are willing to limit the timeframe to
January 1, 2002 to the present.

        Eighth, as to the "voting behavior" inquired into by Request to Produce no. 7, we are
specifically seeking information regarding voters' candidate preference and voter turnout.

        Ninth, with respect to your concerns regarding Request to Produce nos. 15 and 16, we
note that this language is nearly identical to the language contained in the subpoenas your
clients served on 11 different persons and entities. We similarly are not requesting, or
expecting to receive, anything improper or privileged.

         Finally, if you decide to file motion for a protective order, we will agree to extend the time
to file until September 14, 2011.

       If you seek clarification as to any of these issues, or would like to discuss them further, I
would be happy to speak with you. Just let me know what time would work for you.

      Otherwise, per your request during today's telephone discussion to set a time on
Monday to confer regarding Defendants' discovery responses, we are available most of the
day. Please let us know what works best for you.




                                                       Brent D. Stratton
                                                       Chief Deputy Attorney General
                                                       (312) 814-4499
BDS/es
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                       EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                 EASTERN DIVISION


                                                              )
   COMMITTEE FOR A FAIR AND BALANCED                          )
   MAP, et al.,                                               )
                                                              )
                       Plaintiffs,                            )
                                                              )        Case No. II-C-5065
               v.                                             )
                                                              )        Hon. John D. Tinder

   ILLINOIS STATE BOARD OF ELECTIONS,
                        )        Hon. Joan H. Lefkow

   et al.,                                                    )        Hon. Robert L. Miller, Jr.
                                                              )
                       Defendants.                            )
                                                              )


              DEFENDANTS' ANSWERS TO PLAINTIFFS' FIRST SET OF

              REQUESTS FOR PRODUCTION AND INTERROGATORIES



       Defendants ILLINOIS STATE BOARD OF ELECTIONS, WILLIAM M. MCGUFFAGE,

JESSE R. SMART, BRYAN' A SCHNEIDER, BETTY 1.COFFRIN, HAROLD D. BYERS, JUDITH

C. RICE, CHARLES W. SCHOLZ, and ERNEST L. GOWEN (collectively, "the Defendants"),

pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure, respond to the Plaintiffs' First

Set of Requests for Production and Interrogatories as follows:

                                     GENERAL OBJECTIONS

        I.     The Defendants object to the Plaintiffs' interrogatories and document requests to the

extent that they seek to impose obligations that are greater than those imposed by Federal Rules of

Civil Procedure 33 and 34 or any other local rule or applicable law.

       2.      The Defendants object to the Plaintiffs' interrogatories and document requests to the

extent that they seek information subject to the attorney-client privilege, the attorney work-product

doctrine, the common interest doctrine, or any other applicable privilege or doctrine.
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        3.      The Defendants object to the Plaintiffs' interrogatories and document requests to the

extent that they are vague, ambiguous, overbroad, unduly burdensome, and/or seek information or

documents that are neither relevant nor likely to lead to admissible evidence in this case.

       4.       The Defendants object to the Plaintiffs' interrogatories and document requests

insofar as they seek information in possession of the Plaintiffs or third parties.

        5.      The Defendants object to the Plaintiffs' interrogatories and document requests to

the extent that they prematurely seek information or documents relating to, or reports by, experts

or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2). The Defendants

will provide all such materials to the Plaintiffs pursuant to the dictates of the Court's Scheduling

Order and the Federal Rules of Civil Procedure.

        6.      The Defendants object to the Plaintiffs' interrogatories and document requests to

the extent that, as defined in the Plaintiffs definition of "You" and "Your,'; the Plaintiffs seek

answers and responses on behalf of or regarding former employees, personnel, attorneys, agents,

investigators, experts, board members, officers, directors, representatives, or anyone acting in

cooperation or concert with them.

        7.      Where the Defendants agree to produce documents, they do so only to the extent they

currently have possession, custody, or control of any responsive documents. The Defendants'

agreement to produce documents in response to any request is not an admission that the Defendants

currently have possession, custody, or control of any documents responsive to that request.

        8.      The Defendants' decision to answer and respond notwithstanding the objectionable

nature of any of these interrogatories or document requests should not be construed as a waiver of

any or all of these general objections.




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       9.      The Defendants reserve the right to supplement their answers and responses to the

Plaintiffs' interrogatories and document requests, respectively, as appropriate.

        10.    Each of the foregoing general objections is incorporated by reference into each of the

specific answers and responses set forth below.

                                       INTERROGATORIES

Interrogatory No.1:        For each member of the Illinois State Board of Elections,
identify the following:

       (a)	    Positions held on the Illinois State Board of Elections and any subcommittee
               or department thereof; and

       (b)	    Tenure on the Illinois State Board of Elections.

       ANSWER: The Defendants object to this interrogatory on the grounds that it is overly
broad and seeks information that is neither relevant nor likely to lead to admissible evidence in this
case. Subject to these objections and without waiving the same, the Defendants answer as
follows below. The following members were not part of any relevant subcommittee or
department.

       The Illinois State Board of Elections' (the "Board") members as of July 1,2011 are:

    WILLIAM M. McGUFFAGE                                   JESSE R. SMART

    Term started: May 21, 1998                             Term started: May 10,2001

    Term expires: June 30, 2015                            Term expires: June 30, 2015


   HAROLD D. BYERS                                         BETTY J. COFFRIN

   Term expires: June 30, 2015                             Term expires: June 30, 2013


    ERNEST L. GOWEN                                        BRYAN A. SCHNEIDER

    Term expires: June 30, 2013                            Term started July 6, 2004

                                                           Term expires: June 30,2015

    JUDITH C. RICE

    Term expires: June 30, 2013                            CHARLES W. SCHOLZ

                                                           Term expires: June 30,2013

The Board's members between January 1,2010 and July 1,2011 were:

   BR YAN A. SCHNEIDER                                     PATRICK A. BRADY

   Term started: July 6, 2004                              Term started: October 26, 2005





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  JOHN R. KEITH                                         ALBERT S. PORTER
  Term 1: April 13, 1988 - July 24, 1990                Term started: November 16, 2000
  Term 2 started: April 26, 2001
                                                        JESSE R. SMART
  WILLIAM M. McGUFFAGE                                  Term started: May 10,2001
  Term started: May 21,1.998
                                                        ROBERT J. WALTERS
  WANDA L. REDNOUR                                      Term started: October 26,2005
  Term started: February 25, 1988

Interrogatory No.2: Identify all Persons,including but not limited to interns, staff
members, employees, personnel, elected officials, and any other agents or representatives
of the Board who were involved in the planning, development, negotiation, drawing,
revision, re-drawing, and/or implementation of the Proposed Congressional Plan or any
other potential or proposed Illinois Congressional Redistricting plan. For each Person
identified in response to this interrogatory, identify and describe:

       (a)     the Person's name, address, telephone number, and employer;

       (b)     the Person's involvement; and

       (c)     the 'time period of the Person's involvement.

        ANSWER: The Defendants object to this interrogatory on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In additiofi, the Defendants object to this interrogatory
insofar as it seeks information subject to the attorney-client privilege, the attorney work-product
doctrine, and the common interest doctrine. Moreover, the Defendants object to the extent that
this interrogatory prematurely seeks information or documents relating to, or reports by, experts
or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these
objections and without waiving the same, the Defendants answer as follows:

        The Defendants state that they had no involvement in the planning, development,
negotiation, drawing, revision, or re-drawing of Illinois Public Act 97-14 (the "Congressional
map"). The Defendants further state that they are aware of the following persons' involvement
in their implementation of the Congressional map:

       Eric Donnewald, Director, (217) 782-1573
       Jayme Sims, Election Specialist, (217) 782-1570
       Brian Zilm, Election Specialist, (217) 524-6171
       Board Election Training and Resource Development Division
       1020 South Spring Street
       Springfield Illinois 62704




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       Kyle Thomas, Director

       Board Voter Registration Services Division

       1020 South Spring Street

       Springfield Illinois 62704

       (217) 782-1590

       Tim Mapes, former Chief of Staff

       Anne Schaeffer

       Office of the Speaker of the Illinois House of Representatives


       Bob Lindquist

       Jillian Stanford

       Keith Croteau

       GIS Solutions

       2612 Farragut Drive

       Springfield, Illinois 62704

       (217) 726-1501

       The Illinois General Assembly appropriated money to the Board in December 2008 in
order for it to enter into a services contract with Election Data Services, a Virginia-based
company. The Board had no direct involvement with the performance requirements of the
contract.

        As part of the Board's statutory duties, the Board's Voter Registration Services Division
(the "VRSD") compiles a database of voter registration information as provided to it
electronically by the Election Authorities ("EAs") on a regular basis, usually nightly. This
voter registration data is available to registered political committees for bona fide political
purposes, and to governmental entities for governmental purposes, but not for commercial
solicitation or other business purposes. On or about February 16, 2011, Anne Schaeffer, a staff
person in the Office of the Speaker of the Illinois House of Representatives, contacted the
Board to request voter registration information for redistricting purposes. On or about February
23, 2011, Kyle Thomas, Director of the VRSD, prepared data files containing voter registration
information from December 2008 and December 2010. These data files, which were provided
to Schaeffer, contained the information identified in, and were in the same format as, the
attached document titled, "Normalized Format."

       On or about June 24, 2011, Eric Donnewa1d, Director of the Board's Election Training
and Resource Development Division (the "ET&RD") , contacted Tim Mapes, then Chief of Staff
for the Speaker of the Illinois House of Representatives, in order to obtain a copy of the
Congressional boundaries as signed into law that day via lllinois Public Act 97-14 (the
"Congressional map"). Mapes put Donnewald in touch with Schaeffer to make that request.
Donnewald received the boundaries on or about June 27, 2011 in the form of "shapefiles,"
which are files containing geospatial data. The shapefiles were made publicly available on the
Board's Web site at www.e1ections.i1.gov/shape/. On or about June 27, 2011, the ET&RD
mailed the shapefiles on compact disks ("CDs") along with a transmittal cover letter to all of the




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EAs. During this time period, the Board also responded to e-mails or telephone calls from
EAs requesting information on when they were to expect the shapefiles.

        The Board had already entered into a contract in or about March 2011 with GIS
Solutions ("GISS"), a Springfield-based company, which has the software required to convert
shapefiles into readable geographic descriptions, including maps, in order to create metes and
bounds descriptions of the Congressional map as required by Illinois Public Act 97-14. Bob
Lindquist, a GISS employee, was in charge of converting the shapefiles into readable
descriptions. Jamye Sims and Brian Zilm, Election Specialists in the ET&RD, checked for the
accuracy and clarity of the descriptions against the map's boundaries and, as part of their
review, noted any situations where a district boundary line cut through a commercial or
residential building. Per Illinois Public Act 97-14, the EAs are to place those residents that live
in commercial or residential buildings that are split by a district boundary line into the lesser
populated district. This review process is ongoing, but once completed, the readable geographic
descriptions will be forwarded to the EAs, unless specifically requested earlier, and made
available on the Board's Web site.

        The Board is currently working with GISS, specifically lillian Stanford and Keith
Croteau, to implement a program that would allow the public to view future Congressional
and legislative maps interactively on their Web site. In addition, depending on the
Democratic and Republican state parties' ultimate plans regarding delegate allocation to their
respective, forthcoming national nominating conventions, some of the parties' delegates and
alternate delegates may be elected on the basis of Congressional Districts. In such
circumstances, the Board calculates the Congressional District-based delegate and alternate
delegate allocations by: utilizing a statutory allocation formula, as chosen by each party;
determining which precincts fall within each Congressional District; and ascertaining the
results of past elections in each precinct and Congressional District as a whole.

      The Defendants state further that they had, and continue to have, non-relevant internal
communications that solely regard their involvement in the implementation of the
Congressional map as described above.

       All relevant, non-privileged documents in the Defendants' possession relating to such
persons' involvement are attached hereto.

Interrogatory No.3: Identify all Communications relating to the planning, development,
negotiation, drawing, revision, re-drawing, and/or implementation of the Proposed
Congressional Plan or any other potential or proposed Illinois Congressional
Redistricting plan, including but not limited to, any such Communications with any of
the following Persons:

       (a)     Any Person identified in response to Interrogatory No.2;

       (b)     Defendants;

       (c)     DCCC;




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       (d)	    Any present and former DCCC staff, personnel, employees, attorneys,
               agents, investigators, representatives, experts, consultants, or anyone else
               acting on the DCCC's behalf;

       (e)	    Illinois House Redistricting Committee;

       (f)	    Illinois Senate Redistricting Committee;

       (g)	    Any member of the Illinois General Assembly;

       (h)	     Any present and former Illinois General Assembly staff, personnel,
              . employees,	 attorneys, agents, investigators, representatives, experts,
                consultants, or anyone else acting on the Illinois General Assembly's
                behalf;

       (i)	    Any current or former member of the United States Congress;

       (j)	    Any present and former United States Congress staff, personnel,
               employees, attorneys, agents, investigators, representatives, experts,
               consultants, or anyone else acting on the United States Congress' behalf;

       (k)	    Any Interest Groups which testified at any Redistricting hearings;

       (I)	    Governor Pat Quinn ("Governor"); and

       (m)	    Any present and former Governor staff, personnel, employees, attorneys,
               agents, investigators, representatives, experts, consultants, or anyone else
               acting on the Governor's behalf.

        ANSWER: The Defendants object to this interrogatory on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object to this interrogatory
insofar as it seeks information subject to the attorney-client privilege, the attorney work-product
doctrine, and the common interest doctrine. Moreover, the Defendants object to the extent that
this interrogatory prematurely seeks information or documents relating to, or reports by, experts
or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these
objections and without waiving the same, the Defendants direct the Plaintiffs to the Defendants'
Answer to Interrogatory No. 2 for a full description of those relevant, non-privileged
communications of which they are aware.

Interrogatory No.4: Identify any and all expert(s) and/or consultant(s) with whom You
communicated, directly or indirectly, regarding the planning, development, negotiation,
drawing, revision, re-drawing, and/or implementation of the Proposed Congressional
Plan or any other potential or proposed Illinois Congressional Redistricting plan. For
each expert or consultant, identify and describe:




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        (a)	    The name, title, address, telephone number, and employer of

                the expert/consultant;


        (b)	    The time period of the expert or consultant's involvement;

        (c)	    The date, time, location, subject matter and                  content    of each
                Communication with the expert or consultant; and

        (d)	    The name and contact information of each other Person involved in or
                present during any and all Communications with the expert or
                consultant.

          ANSWER: The Defendants object to this interrogatory on the grounds that it is
  compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
  is outside the control of the Board. In addition, the Defendants object to this interrogatory
  insofar as it seeks information subject to the attorney-client privilege, the attorney work-product
  doctrine, and the.common interest doctrine. Moreover, the Defendants object to the extent that
  this interrogatory prematurely seeks information or documents relating to, or reports by, experts
  or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these
. objections and without waiving the same, the Defendants direct the Plaintiffs to the Defendants'
  Answer to Interrogatory No.2 for the identities of any persons with whom the Defendants had
  relevant, non-privileged communications during the implementation of the Congressional map.

 Interrogatory No.5: Identify any and all expert or consultant reports or opinions You
 reviewed, to which You referred, on which You relied, or on which you plan to rely related
 to the planning, -development, negotiation, drawing, revision, re-drawing, and/or
 implementation of the Proposed Congressional Plan or any other potential or proposed
 Illinois Congressional Redistricting plan. For each such report or opinion, provide the
 date, subject matter, and content of it.

         ANSWER: The Defendants object to this interrogatory on the grounds that it is
 compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
 is outside the control of the Board. In addition, the Defendants object to this interrogatory
 insofar as it seeks information subject to the attorney-client privilege, the attorney work-product
 doctrine, and the common interest doctrine. Moreover, the Defendants object to the extent that
 this interrogatory prematurely seeks information or documents relating to, or reports by, experts
 or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these
 objections and without waiving the same, the Defendants state that they did not rely on any
 expert or consultant reports or opinions in their implementation of the Congressional map.

 Interrogatory No.6: Identify any and all Communications You have had with any
 Illinois county or local election board members or officials and/or Boards of Election
 Commissioners regarding the Proposed Congressional Plan or any other potential or
 proposed Illinois Congressional Redistricting plan. For all Communications identified,
 describe the following:




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       (a)    Date and time of Communications(s);

       (b)    Persons involved in the Communication(s);

       (c)    Location of the Communication(s); and

       (d)    Subject matter and content of the Communication(s).

        ANSWER:          The Defendants object to this interrogatory on the grounds that it is
compound, overly broad, vague, ambiguous, and unduly burdensome. In addition, the
Defendants object to this interrogatory insofar as it seeks information subject to the attorney­
client privilege, the attorney work-product doctrine, and the common interest doctrine. Subject
to these objections, and without waiving the same, the Defendants direct the Plaintiffs to the
Defendants' Answer to Interrogatory No. 2 for an identification of all such relevant, non­
privileged communications.

Interrogatory No.7: Identify all State Board of Elections procedures used and/or any
actions taken by you to implement the Proposed Congressional Plan before or after it
was signed into law by the governor of Illinois.

       ANSWER: The Defendants object to this interrogatory on the grounds that it is
compound, overly broad, vague, ambiguous, and unduly burdensome. In addition, the
Defendants object to this interrogatory insofar as it seeks information subject to the attorney­
client privilege, the attorney work-product doctrine, and the common interest doctrine.
Moreover, the Defendants object to the extent that this interrogatory prematurely seeks
information or documents relating to, or reports by, experts or consultants retained pursuant to
Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without waiving the
same, the Defendants direct the Plaintiffs to the Defendants' Answer to Interrogatory No.2 for
an identification of all such relevant, non-privileged procedures and/or actions.

Interrogatory No.8: Identify the procedures used and/or any actions taken by You to
prepare and/or make available to the public a metes and bounds description of the
Congressional Districts of the Proposed Congressional Plan as required by Public
Act 097-0014.

       ANSWER:           The Defendants object to this interrogatory on the grounds that it is
overly broad and unduly burdensome. Subject to these objections and without waiving the
same, the Defendants direct the Plaintiffs to the Defendants' Answer to Interrogatory No.2 for
an identification of all such relevant, non-privileged procedures and/or actions.

Interrogatory No.9: Identify all Persons who assisted in the preparation ,of your
response to these Interrogatories and the Requests for Production. For each Person
identified in response to this interrogatory, identify and describe the Person's name, job
title, employer and the Person's involvement.




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        ANSWER: The Defendants object to this interrogatory on the grounds that it is
overly broad, vague, and ambiguous. In addition, the Defendants object to this interrogatory
insofar as it seeks information subject to the attorney-client privilege, the attorney work­
product doctrine, and the common interest doctrine. Subject to these objections and without
waiving the same, the Defendants state that Steve Sandvoss, General Counsel of the Board,
Eric Donnewald, and Kyle Thomas assisted in the preparation of the Defendants' responses to
these interrogatories and document requests.

                             REQUESTS FOR PRODUCTION

Request No.1: All Documents related to the planning, development, negotiation,
drawing, revision, re-drawing, or implementation of the Proposed Congressional Plan or
any other potential or proposed Illinois Congressional Redistricting plan.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Illinois State Board of Elections (the "Board"). In addition, the
Defendants object insofar as it seeks information subject to the attorney-client privilege, the
attorney work-product doctrine, and the common interest doctrine. Moreover, the Defendants
object to the extent that this document request prematurely seeks documents relating to, or
reports by, experts or consultants retained pursuant to Federal Rule of Civil Procedure 26(a)(2).
Further, the Defendants object to the production of internal Board communications regarding
implementation as they are neither relevant nor likely to lead to the discovery of admissible
evidence in this dispute. Subject to these objections and without waiving the same, the
Defendants state that they had no involvement in the planning, development, negotiation,
drawing, revision, or re-drawing of Illinois Public Act 97-14 (the "Congressional map") and
direct the Plaintiffs' attention to the attached relevant, non-privileged documents regarding
implementation of the Congressional map.

Request No.2: All Documents, including, but not limited to, reports, analyses, electoral
data, population data, election results, or other election data reviewed or considered
during the planning, development, negotiation, drawing, revision, or re-drawing of the
Proposed Congressional Plan or any other potential or proposed Illinois Congressional
Redistricting plan.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants direct the Plaintiffs' attention to the attached relevant, non­
privileged documents.




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Request No.3: All Documents, including without limitation, all data files or any other
data type, related to election and/or voter data; election Redistricting software,
including, but not limited to, Maptitude and AutoBound shapefiles and data, and/or
data from any other District mapping software program(s); Core Report and
Compactness report data; and all 2010 Census data used for the purpose of planning
and drawing the Proposed Congressional Plan or any other potential or proposed
Illinois Congressional Redistricting plan. This Request includes, but is not limited to,
data in draft and final form.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, arid the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants direct the Plaintiffs' attention to the attached relevant, non­
privileged documents.

        Further, the Defendants object to the full production of documents prepared by the Board
for the allocation of delegates to the Republican Party national convention and the Democratic
Party national convention. As identified in the Defendants' Answer to Interrogatory No.2, any
such calculations are made pursuant to a statutory formula, are extensive and burdensome to
produce, and are neither relevant nor likely to lead to the discovery of admissible evidence in this
dispute.

        The Defendants also object to the production of internal Board communications that
solely regard their involvement in the implementation of the Congressional map as described in
the Defendants' Answer to Interrogatory No.2, which are extensive and burdensome to produce
and are neither relevant nor likely to lead to the discovery of admissible evidence in this dispute.

Request No.4: All Documents that constitute, refer, or relate to data files and drafts
of data files. used to formulate the composition of Districts 3, 4, or 5 of the Proposed
Congressional Plan or any other potential or proposed Illinois Congressional
Redistricting plan, including Compactness reports, Core Reports, and any 2010
Census processed data used in conjunction with any. District mapping software
program(s).

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without




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waiving the same, the Defendants state that they are not in possession of any such relevant, non­
privileged documents.

Request No.5: All draft drawings of any Districts of the Proposed Congressional Plan or
any other potential or proposed Illinois Congressional Redistricting plan.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants state that they are not in possession of any such relevant, non­
privileged documents.

Request No.6: All Documents that relate to or reflect Communications You have had
with any Illinois county or local election board members or officials regarding the
Proposed Congressional Plan or any other potential or proposed Illinois Congressional
Redistricting plan.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, and unduly burdensome. In addition, the
Defendants object insofar as it seeks information subject to the attorney-client privilege, the
attorney work-product doctrine, and the common interest doctrine. Subject to these objections
and without waiving the same, the Defendants direct the Plaintiffs' attention to the attached
relevant, non-privileged documents.

        Further, the Defendants object to the production of e-mails between the Election
Authorities ("EAs") and the Board as they are neither relevant nor likely to lead to the discovery
of admissible evidence in this dispute. As identified in the Defendants' Answer to Interrogatory
No.2, any such communications regarded the date and/or time by which the EAs were to expect
arrival of the shapefiles on CD.

Request No.7: All Documents which reflect the following:

       (a)	    The identity of any experts or consultants who reviewed, commented on,
               advised, or otherwise rendered any advice, input, or opinion concerning
               the Proposed Congressional Plan or any other potential or proposed
               Illinois Congressional Redistricting plan;

       (b)	    The identity of any experts or consultants who conducted any Racial Bloc
               Voting or any other racial polarization analyses concerning the Proposed
               Congressional Plan or any other potential or proposed Illinois
               Congressional Redistricting plan;




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       (c)	   Reports or opunons of any expert or consultant used to support the
              composition of the entire Proposed Congressional Plan or any other
              potential or proposed Illinois Congressional Redistricting plan;

       (d)	    Any analysis, review, study, or consideration undertaken by any
               expert, consultant, scholar, or other Person concerning the viability of
               drawing more than one Latino Majority District or one Latino Majority
               District and one Latino Influence District; and

       (e)	    Any analysis, review, study, or consideration undertaken by any
               expert, consultant, scholar, or other Person regarding whether
               the Proposed Congressional Plan or any other potential or proposed
               Illinois Congressional Redistricting plan complies with Section 2 of the
               Voting Rights Act of 1965, 42 U.S.C. §1973, the U.S. Constitution, or the
               Illinois Constitution.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants state that they are not in possession of any such relevant, non­
privileged documents.

Request No.8: All Documents that reflect any agreement to engage experts or consultants
for the purposes of planning, preparing, drawing, analyzing, or providing supporting
evidence for the Proposed Congressional Plan or any other potential or proposed Illinois
Congressional Redistricting plan.

        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants direct the Plaintiffs' attention to the attached relevant, non­
privileged documents.

Request No.9: All records of payment to any experts or consultants who reviewed,
commented on, advised, or otherwise rendered any advice, input, or opinion concerning
the Proposed Congressional Plan or any other potential or proposed Illinois
Congressional Redistricting plan.




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        RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, unduly burdensome, and requests information that
is outside the control of the Board. In addition, the Defendants object insofar as it seeks
information subject to the attorney-client privilege, the attorney work-product doctrine, and the
common interest doctrine. Moreover, the Defendants object to the extent that this document
request prematurely seeks documents relating to, or reports by, experts or consultants retained
pursuant to Federal Rule of Civil Procedure 26(a)(2). Subject to these objections and without
waiving the same, the Defendants direct the Plaintiffs' attention to the attached relevant, non­
privileged documents.

Request No. 10: To the extent not produced in response to other Requests for Production,
all Documents identified in or relied upon in your answers to Plaintiffs' Interrogatories.

       RESPONSE: The Defendants object to this document request on the grounds that it is
compound, overly broad, vague, ambiguous, and unduly burdensome. In addition, the
Defendants object insofar as it seeks information subject to the attorney-client privilege, the
attorney work-product doctrine, and the common interest doctrine. Subject to these objections
and without waiving the same, the Defendants state that they currently have no such other
relevant, non-privileged responsive documents. However, the Defendants will seasonably
supplement their responses as appropriate.


Dated: September 6, 2011                    Respectfully submitted,

                                            LISA MADIGAN,

                                            Attorney General for the State of Illinois





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                                       VERIFICATION


      Under penalty of perjury, I declare that I have read the foregoing Defendants' Answers to
Plaintiffs' First Set of Interrogatories, and, based on reasonable inquiry, the facts alleged
therein are true and correct to the best of my knowledge, information, and belief.




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                                            Stev andvos
                                            General Counsel, Illinois State Board of Elections




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